Case 1:15-cr-21004-CMA Document 9 Entered on FLSD Docket 01/29/2016 Page 1 of 4



                           UN ITED STA TES DISTR ICT C O U R T
                           SO UTH ER N D ISTR IC T O F FLO RIDA

                                         CASENO./X. 2/00$-CR -X ZTöN4WX
  UN ITED ST AT ES O F AM ER ICA

 5'S.

 STEPHEN M .COSTA,

               D efendant.
                                     /

                               R UL E 20 PLEA AG REE M ENT


        The United States of America and Stephen M .Costa (hereinat-
                                                                   ter retkrred to as the
 -
  idefendant'%)enterintothefollowingagreement'
                                             .
               The defendantand the United States ofAmerica agree to move fora transferof

 his case in United States DistrictCourtforthe Southern Distrid ofNew York,Case Number

  13-CRIM -963,to the Southem DistrictofFlorida tbr a guilty plea and sentencing,pursuantto

 FederalRule ofCrim inalProcedure 20.

               The defendantagrees to plead guilty to count 1 of the indictment,which count

 chargeshim with conspiracy to comm ithealth care fraud,in violation ofTitle 18,United States

 Code,Section 1349.

               The United States agrees to seek dism issal of the rem aining count of the

 indictm entaftersentencing.

               The defkndant is aw are that his sentence w ill be im posed by the court atïer

 considering the FederalSentencing Guidelines and Policy Statem ents (hereinafter :hsentencing
 Guidelines''). The defkndant understands thatthe courtwilldetennine his advisory sentence
Case 1:15-cr-21004-CMA Document 9 Entered on FLSD Docket 01/29/2016 Page 2 of 4
 N




     range under the Sentencing Guidelines, by relying in pa14 on a Pre-sentence lnvestigation

  conducted by the court'sProbation Officeafterhisguilty pleahasbeen entered. The defendant

  further understands that the courtis required to consider the Sentencing Guidelines advisory

  range,butis notbound to im pose that sentence;the coul'
                                                        t is permitted to decide his sentence

  based upon otherstatutory concem s,and his sentence may be eitherm ore severe or less severe

  than theSentencing Guidelines'advisory range. Knowing these facts,the defendantunderstands

  thatthe courthas the authority to im pose any sentence within and up to the statutory maximum

  authorized by law for the offense identified in paragraph 1 and that the defendant m ay not

 w ithdraw hisplea solely asa resultofthe sentence im posed.

                  The defendant understands and acknowledges that the court may impose a

  statutory maximum term ofim prisonmentofup to ten years,followed by a term ofsupervised

 release ofup to 3 years. ln addition to aterm ofimprisonm entand supervised release,the court

 m ayimposeafsneofup to $2.4m illion.

           6.     The defendant understands that, in addition to any sentence imposed under

 paragraph 4 ofthisagreem ent,aspecialassessmentin theamountof$100w illbeim posed. The

 defendantagreesthatthe specialassessm entshallbepaid atthetimeofsentencing.

           7.     The United Statesreservestherightto inform thecourtand the probation officeof

 a1lfacts pertinentto the sentencing process,including allrelevantinformation concerning the

 offenses comm itted, whether charged or not, as well as concem ing the defendant and his

 background. Subjectonlytotheexpresstermsofany sentencingrecommendationscontained in
 thisagreem ent,the United States furtherreservesthe rightto m ake any recom m endation as to the

 quality and quantity ofpunishm ent.
Case 1:15-cr-21004-CMA Document 9 Entered on FLSD Docket 01/29/2016 Page 3 of 4




         8.      The United States and the defendant jointly agree to recommend that the
  defendant be held accountable for offense conduct involving $1.2 m illion of fraud, for the
  purposeofsentencing guidelinescomputationsunderGuidelinesSection 2B 1.1.

         9.      The United Statesagrees to recom m end atsenteneing thatthe courtreduce by tw o

  levels the sentencing guideline levelapplicable to the defendant's offense,pursuantto Section

  3E1.1(a) of the Sentencing Guidelines, based upon the defendant's aftsrmative and timely
  acceptance ofpersonalresponsibility forhisoffense.Ifthe detkndant's guideline range is level

  16 or above, the United States will m ove for an additional one-level reduction pursuant to

  Sentencing Guideline Section 3El.1(b). However,the United States willnotbe rtquired to
  makethismotionorrecommendation ifthedefendant:(1)failsorrefusesto makeafull,accurate
  and completedisclosure to the Probation Ofticeofhisrelevantoffenseconduct;(2)isfound to
  have m isrepresented relevant facts to the governm ent prior to entering into this plea agreem ent;

  or(3)commitsany misconductafterenteringintothisplea agreement;including butnotlimited
  to comm itting a state orfederaloffense,violating any tenn ofrelease,orm aking false statem ents

  ormisrepresentationsto any govem m ententity orofficial.

         10.    The defendantisawarethathis sentence hasnotyetbeen determined by thecourt.

  The defendantalso isaware thatany estimate ofthe probable sentencing range orsentence that

  he m ay receive,whetherthatestim ate com es from his attorney,the govem m ent,or the Probation

  Office,isa prediction,notapromise,and isnotbinding on thegovem ment,theProbation Oflsce,

  or the court. The det-
                       endant further understands that any recom m endation thatthe govenzm ent

  m akes to the court as to sentencing,w hether pursuant to this agreem ent or otherwise, is not

                                                  3
Case 1:15-cr-21004-CMA Document 9 Entered on FLSD Docket 01/29/2016 Page 4 of 4



  binding on the court and the courtm ay disregard the recomm endation in its entirety. The

  defendant understands thathe may notwithdraw his guilty plea even if the court declines to

  acceptany motionsorrecommendationm ade on hisbehalf.

               Thisisthe entire agreementand upderstanding between the United Statesand the

  defendant. 'rhereare no otheragreem ents,prom ises,representations,orunderstandings.


                                     W IFREDO A.FERRE:
                                     UNITED STATES ATTORNEY




  oate:f-/s-/x               By:                                                          *

                                     FRA N K H,TAM EN
                              l
                              j     ASSISTA T UNI
                                               l
                                                 TED STATESATTORNEY
                                                                                      '
                                                                                     .'
                                    '>                                             ''V
                                                                                   .
                                                                              .'
                                     'N -.                           .
                                                                         .,...,               A       ..-'---
                                                 ....---'*   ;x -....''''
                                                 .                          .
                                         .-.--'--'                          ''-'
                                                                               '..

  oat.'/ .
         r
         '
         TG                  By:
                                                                                    .

                                                                                          .
                                                                                          -
                                    LILL       SA                                         >Ea
                                    A TTORN EY                                                    D AN T


  oate: 9-?s    co o         By:
                                              M . O TA
                                    D EF N DA N T




                                                                    4
